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5    dmcdevitt@consumerlawinfo.com
6
     Attorneys for Plaintiff

7                             UNITED STATES DISTRICT COURT
8
                               FOR THE DISTRICT OF ARIZONA

9    Keith Canete,                               )     Case No. 2:18-cv-04246-SMB
                                                 )
10
     Plaintiff,                                  )     JOINT     STIPULATION                OF
11                                               )     VOLUNTARY DISMISSAL                WITH
            vs.                                  )     PREJUDICE
12
                                                 )
13   Wheels Financial       Group,    LLC     dba)
     800LoanMart,                                )
14
                                                 )
15   Defendant.                                  )
16
            Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii), the parties in this matter, through their
17

18   undersigned counsel, stipulate and agree to voluntarily dismiss this matter with prejudice,
19
     with each party to bear its own costs and attorneys’ fees.
20
     Dated: March 26, 2019
21
                                                 Respectfully submitted,
22
                                                 s/David N. McDevitt
23
                                                 David N. McDevitt (030761)
24                                               Thompson Consumer Law Group, PLLC
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28
                                                 Attorneys for Plaintiff




                                          Notice of Settlement - 1
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1                                                 s/Patricia V. Waterkotte
2                                                 Patricia V. Waterkotte
                                                  State Bar No. 029231
3                                                 Rusing Lopez & Lizardi, P.L.L.C.
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                                                  6363 North Swan Road, Suite 151
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                                                  Facsimile: (520) 529-4262
                                                  pvictory@rllaz.com
7                                                 Attorneys for Defendant
8

9

10

11

12
                                   CERTIFICATE OF SERVICE
13

14          I certify that on March 26, 2019 I filed the foregoing document, JOINT
15
     STIPULATION OF VOLUNTARY DISMISSAL WITH PREJUDICE, with the Clerk of
16
     the U.S. District Court for the District of Arizona using CM/ECF, which will send
17

18   notification of such filing to all counsel of record, as follows:
19
                Patricia V. Waterkotte
20              Rusing Lopez & Lizardi, P.L.L.C.
                6363 North Swan Road, Suite 151
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                Attorneys for Defendant
25              Wheels Financial Group, LLC dba 800LoanMart
26

27

28
                                                  s/David N. McDevitt
                                                  David N. McDevitt


                                           Notice of Settlement - 2
